        Case 1:17-cv-00839-ELR Document 14 Filed 09/08/17 Page 1 of 3
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                                                                                       SEP 08 2017
                        UNITED STATE DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA                                         HMTEN~erk
                             ATLANTA DIVISION

LATISHA WRIGHT,                              *
                                             *

       Plaintiff,                            *       CIVIL ACTION
                                             *

v.                                           *       FILENO. 1:17-CV-00839-ELR
                                             *

MARRIOTT VACATIONS               RLt
CORPORATION,                                 *
                                             *       (JURY TRIAL DEMANDED)
       Defendant.                            *


     PLAINTIFF LATISHA WRIGHT’S MOTION TO DEEM THE REQUEST FOR
                        ADMISSIONS ADMITTED

       COMES NOW, Plaintiff LATISHA WRIGHT, by and through her counsel of record,

and files this Motion to Deem the Request for Admissions Admitted against MARRIOTT

VACATIONS WORLDWIDE CORPORATION’s (“Defendant”), showing the following:

                                                    1.

       In Defendant’s Memorandum in Support of its Motion to Dismiss, or Alternatively,

Motion for Summary Judgment, Defendant states that the first and second amended Complaints

should be stricken because of Federal Rule of Civil Procedure 15 requiring leave of court after

service has been completed.

                                                    2.

       If Defendant asserts FRCP Rule 15 as why the Amended Complaints need to be stricken,

than that is an admission that the first Complaint was served properly.

                                                    3.




                                            Page 1 of3
           Case 1:17-cv-00839-ELR Document 14 Filed 09/08/17 Page 2 of 3




       In the event of proper service, the would mean Defendant has not responded in the

required 30 days to the Request for Admissions, so they should be deemed admitted via FRCP

Rule 36.

                                                   4.

       The Defendant was served with the Original Complaint and discovery March 8, 2017

with the Motion to Dismiss being submitted on 23rd day of August and no response to Request

for Admissions.

                                                   5.

       This Motion is only to be considered if the Court finds that the Amended Complaints

should be stricken.


       Respectfully submitted this~4’çday of____________       017.




                                                   fl~t
                                                    Stay Bottner
                                                    Georgia Bar No.: 328587
                                                    Attorney for Plaintiff

  The Law Offices ofRobert Pagniello
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                                               2
       Case 1:17-cv-00839-ELR Document 14 Filed 09/08/17 Page 3 of 3




                                CERTIFCATE OF SERVICE

       1 hereby certify that a copy of the foregoing PLAINTIFF LA TISHA WRIGHT’S MOTION
TO DEEM THE REQUEST FOR ADMISSIONS ADMITTED was served upon all counsel of
record via email after having it filed in Court in person to the following:

      Email: tOflLSiflpeI a,ingclaxs .com

      Mr. Tom Sippel

      Post Office Box 19139

      Atlanta, GA 31126



      ThisX4k day of September, 2017.



                                                Stay Bottner
                                                Attorneyfor Plaint ~ff
                                                Georgia Bar No.: 328587
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                                            3
